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                         IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF UTAH

UNITED STATES OF AMERICA,                              MEMORANDUM DECISION AND
                                                       ORDER DENYING WITHOUT
                        Plaintiff,                     PREJUDICE DEFENDANT LYLE JEFFS’
                                                       MOTION TO COMPEL DISCLOSURE OF
v.                                                     EVIDENCE PURSUANT TO RULE 16

LYLE STEED JEFFS, et al.,

                        Defendants.                    Case No. 2:16-CR-82 TS

                                                       District Judge Ted Stewart

         This matter is before the Court on Defendant Lyle Jeffs’ Motion to Compel Disclosure of

Evidence Pursuant to Rule 16. The other Defendants have joined the Motion.

         Fed. R. Crim. P. 16(a)(1)(E) provides:

         Upon a defendant’s request, the government must permit the defendant to inspect
         and to copy or photograph books, papers, documents, data, photographs, tangible
         objects, buildings or places, or copies or portions of any of these items, if the item
         is within the government’s possession, custody, or control and:
         (i) the item is material to preparing the defense;
         (ii) the government intends to use the item in its case-in-chief at trial; or
         (iii) the item was obtained from or belongs to the defendant.

         DUCrimR 16-1(c) states that, “[u]nless otherwise ordered by the court, the party

obligated to disclose under Fed. R. Crim. P. 16 must comply promptly but not fewer than

fourteen (14) days prior to trial.”

         Defendants’ Motion requests the disclosure of various items pursuant to Rule 16. In

response, the government has detailed the disclosures that respond to Defendants’ requests. The

government further states that it will continue to produce materials responsive to Defendants’

requests as it becomes available. Based upon the government’s representations, it appears that


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an order to compel is not necessary. Should the government fail to comply with its obligations

under Rule 16, Defendants may renew their Motion prior to trial.

       It is therefore

       ORDERED that Defendants’ Motion to Compel Disclosure of Evidence Pursuant to Rule

16 (Docket No. 271) is DENIED WITHOUT PREJUDICE.

       DATED this 22nd day of August, 2016.

                                            BY THE COURT:



                                            Ted Stewart
                                            United States District Judge




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